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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                NEWPORT NEWS DIVISION


LATRINA COX, on behalf of herself and               Civil Action No.: 4:21cv67
others similarly situated,
                                                    CLASS ACTION COMPLAINT
                      Plaintiff,
                                                    JURY TRIAL DEMANDED
       v.

R&B CORPORATION OF VIRGINIA, d/b/a
CREDIT CONTROL CORPORATION,

                      Defendant.
                            ______________________________

                                    NATURE OF ACTION

       1.      Latrina Cox (“Plaintiff”) brings this class action against R&B Corporation of

Virginia, d/b/a Credit Control Corporation (“Credit Control”) under the Telephone Consumer

Protection Act (“TCPA”), 47 U.S.C. § 227.

       2.      Section 227(b)(1)(A)(iii) of the TCPA sets forth restrictions on the use of

automated telephone equipment and prerecorded voice calls, and provides in pertinent part:

       It shall be unlawful for any person within the United States, or any person outside
       the United States if the recipient is within the United States—

       (A)     to make any call (other than a call made for emergency purposes or made
               with the prior express consent of the called party) using any automatic
               telephone dialing system or an artificial or prerecorded voice—

                                             *****

       (iii)   to any telephone number assigned to a paging service, cellular telephone
               service, specialized mobile radio service, or other radio common carrier
               service, or any service for which the called party is charged for the call.

       3.      Upon information and belief, Credit Control routinely violates 47 U.S.C. §

227(b)(1)(A)(iii) by placing non-emergency telephone calls to consumers’ cellular telephone



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numbers by using an automatic telephone dialing system (“ATDS”) and an artificial or

prerecorded voice, without the prior express consent of the consumers, in that Credit Control

repeatedly places calls and delivers prerecorded voice messages to wrong or reassigned

telephone numbers that do not belong to the intended recipients of the calls. See Osorio v. State

Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014) (explaining that only the current subscriber

to a cellular telephone number can provide valid consent to receive calls made by an automatic

telephone dialing system (“ATDS”)); accord Lemos v. Credit One Bank, N.A., 960 F.3d 1164,

1166 (9th Cir. 2020) (“The principal question in this case is whether Credit One can escape

liability under the TCPA because the party it intended to call (its customer) had given consent to

be called, even though the party it actually called had not. Consistent with every circuit to have

addressed this issue, we hold that this argument fails under the TCPA’s text, most naturally

read.”).

                                            Jurisdiction

           4.    This Court has subject matter jurisdiction under 47 U.S.C. § 227(b)(3) and 28

U.S.C. § 1331.

           5.    Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where Credit

Control resides in this District, and where a substantial part of the events giving rise to this action

occurred in this District.

                                               Parties

           6.    Plaintiff is a natural person who at all relevant times resided in Las Vegas,

Nevada.

           7.    Credit Control is a debt collection company with principal offices located in

Newport News, Virginia.




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        8.         With 60 years of experience, Credit Control touts itself as “the partner of choice

specializing in healthcare, utility, and commercial collections.”1

        9.         Credit Control handles more than 500,000 annual account placements from the

utility sector.2

        10.        As part of its collection efforts, Credit Control utilizes “dual-source, real-time

skip tracing” to obtain addresses and telephone numbers.3

        11.        Credit Control also uses an “automated dialer” in “three different modalities:

predictive, preview, and agentless.”4

        12.        In addition, Credit Control utilizes “direct-drop voicemail solutions,”5 which

allow Credit Control to deliver voice messages directly to a telephone’s voice mail without

causing the telephone to ring.

                                          Factual Allegations

        13.        In an attempt to collect an alleged debt, Credit Control placed multiple calls to

telephone number (725) XXX-8310 in 2021.

        14.        At all relevant times, telephone number (725) XXX-8310 was assigned to a

cellular telephone service.

        15.        At all relevant times, Plaintiff was the subscriber and customary user of cellular

telephone number (725) XXX-8310.




1
        https://creditcontrol.net/about-us/ (last visited May 28, 2021).
2
        https://creditcontrol.net/cable-solutions/ (last visited May 28, 2021).
3
        https://creditcontrol.net/cable-solutions/ (last visited May 28, 2021).
4
        https://creditcontrol.net/cable-solutions/ (last visited May 28, 2021).
5
        https://creditcontrol.net/cable-solutions/ (last visited May 28, 2021).


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       16.     Credit Control began placing calls and delivering artificial or prerecorded voice

messages to Plaintiff’s cellular telephone number in or around March 2021, and the calls and

prerecorded voice messages continued through at least April 2021.

       17.     Credit Control called telephone number (725) XXX-8310 on March 23, 2021.

       18.     Credit Control called telephone number (725) XXX-8310 on April 13, 2021.

       19.     In connection with its calls to Plaintiff’s cellular telephone number, Credit

Control also delivered a least one prerecorded voice message to Plaintiff’s cellular telephone

voice mail.

       20.     By way of example, one of the prerecorded voice messages that Credit Control

delivered to Plaintiff’s cellular telephone voice mail in 2021 stated:

       We have an important message from Credit Control Corporation. This is a
       message from a debt collector and this is an attempt to collect a debt. Any
       information obtained will be used for this purpose. Please call 757-873-2737.

       21.     Upon information and good faith belief, Credit Control’s records will identify

each call it placed to Plaintiff’s cellular telephone number.

       22.     Upon information and good faith belief, Credit Control’s records will identify

each prerecorded voice message it delivered to Plaintiff’s cellular telephone.

       23.     Credit Control placed calls to Plaintiff’s cellular telephone number from

telephone number (757) 873-2737, a number assigned to Credit Control.

       24.     When dialed, telephone number (757) 873-2737 plays a prerecorded voice

message greeting that begins: “You have reached Credit Control Corporation. . . .”

       25.     Credit Control placed each of its calls to Plaintiff’s cellular telephone number in

an effort to contact and collect a debt allegedly owed by a third party.

       26.     Plaintiff spoke with a representative for Credit Control, who informed Plaintiff

that Credit Control was attempting to reach Plaintiff’s adult son.


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       27.     Plaintiff’s adult son does not live with her, and is not on her telephone plan.

       28.     Plaintiff’s adult son does not have authority to provide consent to have automated

and prerecorded voice calls placed to her cellular telephone number.

       29.     Plaintiff’s adult son did not provide consent to Credit Control to place automated

and prerecorded voice calls to Plaintiff’s cellular telephone number.

       30.     Upon information and good faith belief, and in light of the character and nature of

the calls, including Credit Control’s use of an artificial or prerecorded voice and its public

representations about its dialing capabilities, Credit Control used an ATDS, as defined by 47

U.S.C. § 227(a)(1), to place its calls to Plaintiff’s cellular telephone number.

       31.     Credit Control utilizes a predictive dialer to place outbound collections calls.

       32.     A predictive dialer is a type of ATDS that has the capacity to store telephone

numbers to be called, using a random or sequential number generator.

       33.     Upon information and good faith belief, Credit Control uploads telephone

numbers to be called to its dialer, which stores the numbers to be called and automatically dials

the numbers based on the availability of Credit Control’s customer service representatives to

field connected calls.

       34.     Upon information and good faith belief, Credit Control’s dialer has the capacity to

use a random or sequential number generator as part of its functionality to determine the order of

telephone numbers to be called from a list.

       35.     Upon information and good faith belief, Credit Control used such hardware and

software to place the calls at issue to Plaintiff’s cellular telephone number.

       36.     Plaintiff did not provide Credit Control with prior express consent to place any

calls to her cellular telephone number.




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       37.     Plaintiff did not provide Credit Control with prior express consent to deliver

artificial or prerecorded voice messages to her cellular telephone.

       38.     Plaintiff does not, and never did have, any business relationship with Credit

Control.

       39.     Plaintiff does not, and never did, owe money to Credit Control.

       40.     Plaintiff is not, and was not, responsible for the debt about which Credit Control

placed its calls, and delivered its prerecorded voice messages, to her cellular telephone number.

       41.     Credit Control did not place its calls or deliver its prerecorded voice messages to

Plaintiff’s cellular telephone number in an effort to reach Plaintiff.

       42.     Credit Control did not place any calls or deliver any prerecorded voice messages

to Plaintiff’s cellular telephone number for emergency purposes.

       43.     Credit Control placed its calls and delivered its prerecorded voice messages to

Plaintiff’s cellular telephone number under its own free will.

       44.     Upon information and good faith belief, Credit Control had knowledge that it was

using an ATDS to place its calls to Plaintiff’s cellular telephone number.

       45.     Credit Control had knowledge that it was using an artificial or prerecorded voice

in connection with calls it placed and messages it delivered to Plaintiff’s cellular telephone

number.

       46.     Plaintiff suffered actual harm as a result Credit Control’s calls and prerecorded

voice messages in that she suffered an invasion of privacy, an intrusion into her life, a private

nuisance, and was forced to spend time attempting to get Credit Control’s calls and prerecorded

voice messages to stop.




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       47.       Upon information and good faith belief, Credit Control, as a matter of pattern and

practice, uses an ATDS, and an artificial or prerecorded voice, to place calls and deliver

messages, absent prior express consent, to telephone numbers assigned to a cellular telephone

service.

                                      Class Action Allegations

       48.       Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b) on behalf of herself and two classes of similarly situated individuals as

defined below:

             ATDS Class: All persons and entities throughout the United States (1) to
             whom R&B Corporation of Virginia, d/b/a Credit Control Corporation
             placed, or caused to be placed, at least one call (2) directed to a number
             assigned to a cellular telephone service, by (3) using an automatic
             telephone dialing system, (4) from four years prior to the filing of this
             complaint through and including the date of class certification, (5) where
             the called party did not have an account with R&B Corporation of
             Virginia, d/b/a Credit Control Corporation.

             Prerecorded Voice Class: All persons and entities throughout the United
             States (1) to whom R&B Corporation of Virginia, d/b/a Credit Control
             Corporation placed, or caused to be placed, at least one call (2) directed to
             a number assigned to a cellular telephone service, by (3) using an artificial
             or prerecorded voice, (4) from four years prior to the filing of this
             complaint through and including the date of class certification, (5) where
             the called party did not have an account with R&B Corporation of
             Virginia, d/b/a Credit Control Corporation.

Excluded from the classes are Credit Control, its officers and directors, members of their

immediate families and their legal representatives, heirs, successors, or assigns, and any entity in

which Credit Control has or had a controlling interest.

       49.       The proposed classes are so numerous that, upon information and belief, joinder

of all members is impracticable.




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        50.     The exact number of class members is unknown to Plaintiff at this time and can

only be determined through appropriate discovery.

        51.     The proposed classes are ascertainable because they are defined by reference to

objective criteria.

        52.     In addition, and upon information and belief, the cellular telephone numbers of all

members of the classes can be identified in business records maintained by Credit Control and

third parties, including class members.

        53.     Plaintiff’s claims are typical of the claims of the members of the classes because

all of the class members’ claims originate from the same conduct, practice and procedure on the

part of Credit Control, and Plaintiff possesses the same interests and has suffered the same

injuries as each class member.

        54.     Like all members of the proposed ATDS Class, Plaintiff received telephone calls

from Credit Control using an ATDS, without her consent, in violation of 47 U.S.C. § 227.

        55.     Like all members of the proposed Prerecorded Voice Class, Plaintiff received

artificial or prerecorded voice messages from Credit Control, without her consent, in violation of

47 U.S.C. § 227.

        56.     Plaintiff will fairly and adequately protect the interests of the members of the

classes and has retained counsel experienced and competent in class action litigation.

        57.     Plaintiff has no interests that are contrary to or in conflict with the members of the

classes that she seeks to represent.

        58.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy, since joinder of all members is impracticable.




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       59.      Furthermore, as the damages suffered by individual members of the classes may

be relatively small, the expense and burden of individual litigation make it impracticable for the

members of the classes to individually redress the wrongs done to them.

       60.      There will be little difficulty in the management of this action as a class action.

       61.      Issues of law and fact common to the members of the classes predominate over

any questions that may affect only individual members, in that Credit Control has acted on

grounds generally applicable to the classes.

       62.      Among the issues of law and fact common to the classes are:

             a) Credit Control’s violations of the TCPA as alleged in this class action complaint;

             b) Credit Control’s use of an ATDS as defined by the TCPA (ATDS Class);

             c) Credit Control’s use of artificial or prerecorded voice messages (Prerecorded

                Voice Class);

             d) Credit Control’s practice of placing calls to wrong or reassigned cellular

                telephone numbers;

             e) Credit Control’s practice of delivering artificial or prerecorded voice messages to

                wrong or reassigned cellular telephone numbers (Prerecorded Voice Class); and

             f) the availability of statutory damages.

       63.      Absent a class action, Credit Control’s violations of the law will be allowed to

proceed without a full, fair, judicially supervised remedy.

                       Count I: Violations of 47 U.S.C. § 227(b)(1)(A)(iii)
                          On behalf of Plaintiff and the ATDS Class

       64.      Plaintiff repeats and re-alleges each and every factual allegation contained in

paragraphs 1-63.




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            65.    Credit Control violated 47 U.S.C. § 227(b)(1)(A)(iii) by utilizing an ATDS to

place telephone calls to Plaintiff’s cellular telephone number, without her consent.

            66.    As a result of Credit Control’s violations of 47 U.S.C. § 227(b)(1)(A)(iii),

Plaintiff and the members of the ATDS class are entitled to damages in an amount to be proven

at trial.

                          Count II: Violations of 47 U.S.C. § 227(b)(1)(A)(iii)
                         On behalf of Plaintiff and the Prerecorded Voice Class

            67.    Plaintiff repeats and re-alleges each and every factual allegation contained in

paragraphs 1-63.

            68.    Credit Control violated 47 U.S.C. § 227(b)(1)(A)(iii) by utilizing an artificial or

prerecorded voice in connection with calls it placed to Plaintiff’s cellular telephone number,

without her consent.

            69.    As a result of Credit Control’s violations of 47 U.S.C. § 227(b)(1)(A)(iii),

Plaintiff and the members of the Prerecorded Voice Class are entitled to damages in an amount

to be proven at trial.

            WHEREFORE, Plaintiff prays for relief and judgment, as follows:

                   (a)     Determining that this action is a proper class action and designating

Plaintiff as the class representative under Rule 23 of the Federal Rules of Civil Procedure;

                   (b)     Adjudging that Credit Control violated 47 U.S.C. § 227(b)(1)(A)(iii), and

enjoining Credit Control from continuing to place calls to Plaintiff’s cellular telephone number,

from placing calls to consumers’ cellular telephone numbers by using an ATDS or an artificial or

prerecorded voice without the prior express consent of the consumers, and from committing

further violations of 47 U.S.C. § 227(b)(1)(A)(iii);




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               (c)     Awarding Plaintiff and members of the classes statutory damages pursuant

to 47 U.S.C. § 227(b)(3) in an amount up to $1,500.00 per violation;

               (d)     Awarding Plaintiff and members of the classes their reasonable costs,

expenses, and attorneys’ fees incurred in this action, including expert fees, pursuant to Rule 23 of

the Federal Rules of Civil Procedure; and

               (e)     Awarding other and further relief as the Court may deem just and proper.

                                  Jury Trial Demanded

       Plaintiff hereby demands a trial by jury.



DATED: May 28, 2021                           Respectfully submitted,



                                              /s/ Dale Pittman
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                                              *To seek admission pro hac vice




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